     Case 2:23-cv-07054-GW-AGR Document 21 Filed 09/25/23 Page 1 of 26 Page ID #:116




1      E. MARTIN ESTRADA
       United States Attorney
2      DAVID M. HARRIS
       Assistant United States Attorney
3      Chief, Civil Division
       JOANNE S. OSINOFF
4      Assistant United States Attorney
       Chief, Complex and Defensive Litigation Section
5      RYAN C. CHAPMAN (Cal. Bar No. 318595)
       Assistant United States Attorney
6            Federal Building, Suite 7516
             300 North Los Angeles Street
7            Los Angeles, California 90012
             Telephone: (213) 894-2471
8            Facsimile: (213) 894-7819
             E-mail: Ryan.Chapman@usdoj.gov
9
       Attorneys for United States of America
10
11                              UNITED STATES DISTRICT COURT
12                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
13                                    WESTERN DIVISION
14     ANGELA OH, et al.,                         No. 2:23-cv-07054 GW (AGRx)
15                Plaintiffs,                     THE UNITED STATES OF
                                                  AMERICA’S NOTICE OF MOTION
16                       v.                       AND MOTION TO REMAND;
                                                  MEMORANDUM OF POINTS AND
17     DIGNITY COMMUNITY CARE, et al.,            AUTHORITIES
18                Defendants.                     [PROPOSED] ORDER
19
                                                  Hearing Date:     October 26, 2023
20                                                Hearing Time:     8:30 a.m.
                                                  Ctrm:             9D
21
                                                  Honorable George H. Wu
22                                                United States District Judge
23
24
25
26
27
28
     Case 2:23-cv-07054-GW-AGR Document 21 Filed 09/25/23 Page 2 of 26 Page ID #:117




1                                                 TABLE OF CONTENTS
2      DESCRIPTION                                                                                                            PAGE
3
4      NOTICE OF MOTION AND MOTION TO REMAND ................................................ .vi
5      MEMORANDUM OF POINTS AND AUTHORITIES ................................................... 1
6      I.     INTRODUCTION ................................................................................................... 1
7      II.    STATUTORY AND REGULATORY FRAMEWORK ........................................ 3
8      III.   FACTUAL AND PROCEDURAL BACKGROUND ............................................ 5
9      IV.    LEGAL STANDARD ............................................................................................. 6
10     V.     ARGUMENT ........................................................................................................... 6
11            A.       Remand is required because the Eisner Defendants’ removal under 42
                       U.S.C. § 233(l) is defective. .......................................................................... 6
12
              B.       Remand is required because the Eisner Defendants’ alternative
13                     removal under 28 U.S.C. § 1442(a)(1) is defective. ..................................... 9
14                     1.       The Eisner Defendants are not federal officers under § 1442. ......... 11
15                     2.       The Eisner Defendants were not acting under the direction of a
                                federal officer under § 1442.............................................................. 11
16
              C.       The Eisner Defendants cannot invoke 28 U.S.C. § 2679(d) as a basis
17                     for removal. ................................................................................................. 16
18     VI.    CONCLUSION...................................................................................................... 16
19
20
21
22
23
24
25
26
27
28
                                                                     i
     Case 2:23-cv-07054-GW-AGR Document 21 Filed 09/25/23 Page 3 of 26 Page ID #:118




1                                              TABLE OF AUTHORITIES
2      DESCRIPTION                                                                                                           PAGE
3      Federal Cases
4
       Abrego Abrego v. The Dow Chem. Co.,
5
         443 F.3d 676 (9th Cir. 2006) .......................................................................................... 6
6
       Agyin v. Razmzan,
7
         986 F.3d 168 (2d Cir. 2021).......................................................................................... 15
8
       Allen v. Christenberry,
9
         327 F.3d 1290 (11th Cir. 2003) .................................................................................. 7, 8
10
       Babbitt v. Dignity Health,
11
         2018 WL 6040472 (C.D. Cal. Nov. 19, 2018) ........................................................... 2, 7
12
       Barnes v. Sea Mar Cmty. Health Ctrs.,
13
         2022 WL 1541927 (W.D. Wash. Apr. 27, 2022) ........................................................... 8
14
       Buljic v. Tyson Foods, Inc.,
15
         22 F.4th 730 (8th Cir. 2021) ......................................................................................... 14
16
       Campbell v. S. Jersey Med. Ctr.,
17
         732 F. App'x 113 (3d Cir. 2018) ..................................................................................... 9
18
       City & County. of Honolulu v. Sunoco LP,
19
         39 F.4th 1101 (9th Cir. 2022) ................................................................................... 6, 12
20
       City of Hoboken v. Chevron Corp.,
21
         45 F.4th 699 (3d. Cir. 2022) ........................................................................................... 6
22
       County of San Mateo,
23
         32 F.4th at 756.................................................................................................... 11, 12, 14
24
       Doe v. Centerville Clinics Inc.,
25
         No. 2:23-CV-1107-NR, 2023 WL 5984337 (W.D. Pa. Sept. 14, 2023) ...................... 10
26
       Durham v. Lockheed Martin Corp.,
27
         445 F.3d 1247 (9th Cir. 2006) ........................................................................................ 6
28
                                                                     ii
     Case 2:23-cv-07054-GW-AGR Document 21 Filed 09/25/23 Page 4 of 26 Page ID #:119




1      Est. of Booker v. Greater Phila. Health Action, Inc.,
2        10 F. Supp. 3d 656 (E.D. Pa. 2014) ................................................................................ 8
3      Fidelitad, Inc. v. Insitu, Inc.,
4        904 F.3d 1095 (9th Cir. 2018) ...................................................................................... 12
5      Gaus v. Miles, Inc.,
6        980 F.2d 564 (9th Cir. 1992) .......................................................................................... 6
7      Gozlon-Peretz v. United States,
8        498 U.S. 395 (1991) ...................................................................................................... 10
9      Hawaii ex rel. Louie v. HSBC Bank Nevada, N.A.,
10       761 F.3d 1027 (9th Cir. 2014) ........................................................................................ 6
11     Hui v. Castaneda,
12       559 U.S. 799 (2010) ...................................................................................................... 16
13     International Primate Prot. League v. Administrators of Tulane Educ. Fund,
14       500 U.S. 72 (1991) ........................................................................................................ 11
15     K.C. v. Cal. Hos. Med. Ctr.,
16       2018 WL 5906057 (C.D. Cal. Nov. 13, 2018) ...................................................... passim
17     L.D.Q. v. California Hosp. Med. Ctr., [L.D.Q. I]
18       2018 WL 1136568 (C.D. Cal. Mar 1, 2018) ............................................................... 2, 7
19     L.D.Q. v. California Hosp. Med. Ctr., [L.D.Q. II]
20       2018 WL 6040474 (C.D. Cal. Nov. 16, 2018) ......................................................... 2, 15
21     Lehman v. Nakshian,
22       453 U.S. 156 (1981) ........................................................................................................ 3
23     Mesa v. California,
24       489 U.S. 121 (1989) ...................................................................................................... 15
25     Morton v. Mancari,
26       417 U.S. 535 (1974) ...................................................................................................... 10
27     N.G. v. Downey Reg’l Med. Ctr.,
28       140 F. Supp. 3d 1036 (C.D. Cal. 2015) ........................................................................ 13
                                                                    iii
     Case 2:23-cv-07054-GW-AGR Document 21 Filed 09/25/23 Page 5 of 26 Page ID #:120




1      Nye v. Hilo Med. Ctr.,
2        No. 09-220, 2010 WL 931926 (D. Haw. Mar. 11, 2010) ............................................. 10
3      O’Brien v. United States,
4        56 F.4th 139 (1st Cir. 2022) .......................................................................................... 16
5      O'Guinn v. Lovelock Corr. Ctr.,
6        502 F.3d 1056 (9th Cir. 2007) ...................................................................................... 10
7      Pediatric & Family Med. Found. v. HHS,
8        2017 WL 8220596 (C.D. Cal. July 6, 2017) ................................................................... 4
9      Shamrock Oil & Gas Corp. v. Sheets,
10       313 U.S. 100 (1941) ........................................................................................................ 6
11     Sherman v. Dignity Health,
12       2019 WL 2242071 (C.D. Cal. May 23, 2019) .................................................... 2, 12, 15
13     Sherman by & through Sherman v. Sinha,
14       843 F. App’x 870 (9th Cir. 2021) ........................................................................... 2, 8, 9
15     Sturgeon v. Frost,
16       139 S.Ct. 1066 (2019) ................................................................................................... 11
17     Thomas v. Phoebe Putney Health Sys., Inc.,
18       972 F.3d 1195 (11th Cir. 2020) .................................................................................... 16
19     United States v. Menasche,
20       348 U.S. 528 (1955) ...................................................................................................... 10
21     United States v. Nordic Vill., Inc.,
22       503 U.S. 30 (1992) .......................................................................................................... 3
23     United States v. Orleans,
24       425 U.S. 807 (1976) ...................................................................................................... 12
25     United States v. Testan,
26       424 U.S. 392 (1976) ........................................................................................................ 3
27     Watson v. Philip Morris Cos.,
28       551 U.S. 142 (2007) .......................................................................................... 12, 13, 14
                                                                     iv
     Case 2:23-cv-07054-GW-AGR Document 21 Filed 09/25/23 Page 6 of 26 Page ID #:121




1
2      Federal Statutes
3      28 U.S.C. §§ 1346, 2671, et seq.......................................................................................... 3
4      28 U.S.C. § 1442(a)(1) ........................................................................................... i, 6, 9, 11
5      28 U.S.C. § 1447 ................................................................................................................. v
6      28 U.S.C. § 2679(d) ....................................................................................................... i, 16
7      28 U.S.C. § 2679(d)(2)...................................................................................................... 16
8      42 U.S.C. § 233 ............................................................................................................. 3, 10
9      42 U.S.C. § 233(a) .............................................................................................................. 3
10     42 U.S.C. § 233(b) .............................................................................................................. 4
11     42 U.S.C. § 233(c) .............................................................................................................. 4
12     42 U.S.C. § 233(g) .............................................................................................................. 1
13     42 U.S.C. § 233(g)(1)(A) .................................................................................................... 3
14     42 U.S.C. § 233(l) ............................................................................................................ i, 6
15     42 U.S.C. § 233(l)(1) .......................................................................................................... 6
16     42 U.S.C. § 254b ........................................................................................................... 3, 13
17     42 U.S.C. § 254b(a)(1) ...................................................................................................... 13
18     Pub. L. No. 102-501 (1992) .............................................................................................. 14
19
20     Federal Regulations
21     28 C.F.R. § 15.4(b) ............................................................................................................. 4
22
23
24
25
26
27
28
                                                                        v
     Case 2:23-cv-07054-GW-AGR Document 21 Filed 09/25/23 Page 7 of 26 Page ID #:122




1                     NOTICE OF MOTION AND MOTION TO REMAND
2            PLEASE TAKE NOTICE that, on October 26, 2023 at 8:30 a.m., or as soon
3      thereafter as they may be heard, the United States of America will, and hereby does,
4      move this Court for an order remanding this case to California Superior Court pursuant
5      to 28 U.S.C. § 1447(c). This motion will be made in the First Street Federal Courthouse
6      before the Honorable George H. Wu, United States District Judge, located at 350 W. 1st
7      Street, Los Angeles, CA 90012.
8            The United States brings the motion on the ground that there was no valid
9      statutory basis for removal from California Superior Court.
10           This motion is made upon this Notice, the attached Memorandum of Points and
11     Authorities, and all pleadings, records, and other documents on file with the Court in this
12     action, and upon such oral argument as may be presented at the hearing of this motion.
13           This motion is made following the conference of counsel pursuant to Local Rule
14     7-3 which occurred on September 18 and 19, 2023.
15
16      Dated: September 25, 2023             Respectfully submitted,
17                                            E. MARTIN ESTRADA
                                              United States Attorney
18                                            DAVID M. HARRIS
                                              Assistant United States Attorney
19                                            Chief, Civil Division
                                              JOANNE S. OSINOFF
20                                            Assistant United States Attorney
                                              Chief, Complex and Defensive Litigation Section
21
22
                                                 /s/Ryan C. Chapman
23                                            RYAN C. CHAPMAN
                                              Assistant United States Attorney
24
                                              Attorneys for United States of America
25
26
27
28
                                                   vi
     Case 2:23-cv-07054-GW-AGR Document 21 Filed 09/25/23 Page 8 of 26 Page ID #:123




1                      MEMORANDUM OF POINTS AND AUTHORITIES
2      I.    INTRODUCTION
3            The Federally Supported Health Centers Assistance Act (“FSHCAA”), 42 U.S.C.
4      § 233(g)–(n), establishes a statutory framework for the federal government to assist
5      grant-recipient community health centers with the cost of medical malpractice insurance
6      as they carry out their business of providing health care services to underserved
7      communities. Despite the complex statutory text, the framework is fairly
8      straightforward: A federally-funded community health center applies to the Department
9      of Health and Human Services (“HHS”) to be “deemed” an employee of the Public
10     Health Service (“PHS”) for the limited purpose of § 233. If that health center or its
11     covered employee is sued, the Attorney General determines whether the allegations at
12     issue in the lawsuit fall within the scope of HHS’s deeming. If the Attorney General
13     determines that the allegations are covered, the United States will intervene—as though
14     the health center were a federal employee of the PHS—and, if the lawsuit was filed in
15     state court, remove the action to federal court. If the Attorney General determines the
16     allegations are not covered, by contrast, the United States does not intervene.
17           Plaintiffs Angela Oh and W.H. filed this medical malpractice lawsuit against
18     Dignity Community Care, Eisner Health, Mary Claassen, C.N.M., Lillian Morris, M.D.,
19     Christina Hillson, M.D.; Catherine Jacobs, C.N.M., Nathana Lurvey, M.D., and Eva
20     Garcia, C.N.M. Claassen, Morris, Jacobs, Lurvey, and Garcia are employees of Eisner
21     Health (collectively “the Eisner Defendants”). Consistent with the requirements of
22     FSHCAA, the U.S. Attorney, acting as the Attorney General’s designee, appeared in the
23     state court action within fifteen days of being notified of the lawsuit and notified the
24     state court that whether the Eisner Defendants were deemed to be PHS employees for the
25     purposes of this lawsuit was under consideration. While that process should have been
26     allowed to be completed, the Eisner Defendants then unliterally removed this action to
27     federal court. The Attorney General’s consideration process remains ongoing.
28           This case must be remanded to state court because the Eisner Defendants’
                                                     1
     Case 2:23-cv-07054-GW-AGR Document 21 Filed 09/25/23 Page 9 of 26 Page ID #:124




1      attempted removal is improper. Section 233(l) only allows a defendant to unilaterally
2      remove a state court action if the Attorney General failed to appear in the state court
3      action—it does not allow for removal if the Attorney General has appeared. Nor does
4      § 1442 apply. Congress has established a specific statutory scheme through § 233 for
5      deemed PHS employees to access a federal forum and the Eisner Defendants cannot
6      nullify that scheme simply by invoking § 1442. In any event, § 1442 only applies to
7      officers of the United States or private individuals acting under officers. Eisner and its
8      employees are not federal officers nor are they “acting under” a federal officer simply by
9      virtue of receiving a federal grant.
10           Courts in this District have repeatedly rejected Eisner’s contrary arguments,
11     including from the same defense counsel, in many prior removal cases. See Sherman v.
12     Dignity Health, 2019 WL 2242071 (C.D. Cal. May 23, 2019) (no removal under § 233
13     where Attorney General appeared; no removal under § 1442 because doctor was not an
14     officer), aff’d in part, dismissed in part, Sherman by & through Sherman v. Sinha, 843 F.
15     App’x 870, 873 (9th Cir. 2021); Babbitt v. Dignity Health, 2018 WL 6040472 (C.D. Cal.
16     Nov. 19, 2018) (no removal under § 233 where Attorney General appeared; no removal
17     under § 1442 because removal untimely), aff’d 2023 WL 1281668 (9th Cir. Jan. 31,
18     2023); L.D.Q. v. California Hosp. Med. Ctr., 2018 WL 6040474 (C.D. Cal. Nov. 16,
19     2018) [hereinafter L.D.Q. II] (no removal under § 1442 because removal was untimely
20     and defendants were not federal officers); K.C. v. Cal. Hos. Med. Ctr., 2018 WL
21     5906057 (C.D. Cal. Nov. 13, 2018) (no removal under § 233 where Attorney General
22     appeared; no removal under § 1442 because doctor was not an officer and removal was
23     untimely); L.D.Q. v. California Hosp. Med. Ctr., 2018 WL 1136568, at *1–3 (C.D. Cal.
24     Mar. 1, 2018) [hereinafter L.D.Q. I] (no removal under § 233 where Attorney General
25     appeared).
26           Given the clear statutory infirmities, as well as the overwhelming weight of
27     precedent in this District, the Court should remand this case back to the Superior Court.
28
                                                    2
 Case 2:23-cv-07054-GW-AGR Document 21 Filed 09/25/23 Page 10 of 26 Page ID #:125




1    II.       STATUTORY AND REGULATORY FRAMEWORK
2              The United States, as a sovereign entity, “is immune from suit save as it consents
3    to be sued . . . and the terms of its consent to be sued in any court define the Court’s
4    jurisdiction to entertain the suit.” Lehman v. Nakshian, 453 U.S. 156, 160 (1981)
5    (quoting United States v. Testan, 424 U.S. 392, 399 (1976)). The Federal Tort Claims
6    Act (“FTCA”), 28 U.S.C. §§ 1346, 2671, et seq., represents a limited waiver of federal
7    sovereign immunity, under which, subject to certain exceptions, the United States may
8    be held liable for the tortious conduct of its employees to the same extent as a private
9    party. See United States v. Nordic Vill., Inc., 503 U.S. 30, 33 (1992).
10             The federal government provides grants to certain public and non-profit entities to
11   subsidize primary health care services for medically underserved populations under
12   several federally funded programs, one of which is the Community Health Center
13   program. 42 U.S.C. § 254b. As an optional benefit, FSHCAA makes § 254b grant
14   recipients, their employees, officers, and certain individual contractors eligible for
15   medical malpractice coverage under the FTCA to the same extent as commissioned
16   officers and employees of the PHS. See generally Public Health Service Act, id. § 201,
17   et seq.
18             To qualify for coverage under FSHCAA, a health center must apply to the
19   Secretary of HHS, meet certain requirements, and obtain annual approval from the
20   Secretary. 42 U.S.C. § 233(g)(1)(A), (g)(4), (h). If the health center is approved, the
21   Secretary “deems” the health center and its providers to be employees of the PHS for the
22   upcoming calendar year, but only “[f]or purposes of” 42 U.S.C. § 233. Id. §
23   233(g)(1)(A). This yearly deeming action is binding upon HHS, the Attorney General,
24   and any parties to a civil proceeding. Id. § 233(g)(1)(F).
25             In turn, 42 U.S.C. § 233(a) provides that a claim against the United States under
26   the FTCA is the exclusive remedy for certain lawsuits against PHS employees. See id. §
27   233(a); H.R. Rep. 102-823, at 4 (1992). Although the Secretary makes the annual
28   “deeming” determination for health centers, the Attorney General decides whether
                                                     3
 Case 2:23-cv-07054-GW-AGR Document 21 Filed 09/25/23 Page 11 of 26 Page ID #:126




1    FTCA coverage extends to the “actions or omissions” in any specific lawsuit. See
2    42 U.S.C. § 233(b)–(c). The Attorney General has delegated this authority to the United
3    States Attorneys. See 28 C.F.R. § 15.4(b). In short, HHS deems a health center and its
4    employees in advance as covered for the upcoming calendar year and, if a civil action is
5    filed, the Attorney General determines whether the specific alleged conduct falls within
6    the scope of the deemed coverage and whether the United States is appropriately the
7    exclusive defendant. See Pediatric & Family Med. Found. v. HHS, 2017 WL 8220596,
8    at *5 (C.D. Cal. July 6, 2017) (“Only after the Attorney General certifies the act
9    happened in the scope of employment is the suit removed to federal court and the United
10   States substituted as the defendant in place of the health center defendant.”).
11         If a health center or its providers are sued in state court, FSHCAA provides two
12   ways for a state court action to be removed. First, the Attorney General may at “any
13   time before trial” certify that a health center defendant is entitled to FTCA coverage,
14   which results in removal of the action to federal court by the Attorney General, followed
15   by the substitution of the United States. 42 U.S.C. § 233(c).
16          Second, § 233(l)(1) provides that “the Attorney General, within 15 days after
17   being notified of such filing, shall make an appearance in such court and advise such
18   court as to whether the Secretary has determined under subsections (g) and (h), that such
19   entity, officer, governing board member, employee, or contractor of the entity is deemed
20   to be an employee of the Public Health Service for purposes of this section with respect
21   to the actions or omissions that are the subject of such civil action or proceeding.” Only
22   if the Attorney General or his designee “fails to appear in State court within the time
23   period prescribed under paragraph (1)” may a health center defendant remove the case to
24   federal court on its own, where proceedings are then stayed pending a determination and
25   order on the appropriate forum for the plaintiff’s claims for damages to proceed. Id.
26   § 233(l)(2).
27
28
                                                  4
 Case 2:23-cv-07054-GW-AGR Document 21 Filed 09/25/23 Page 12 of 26 Page ID #:127




1    III.   FACTUAL AND PROCEDURAL BACKGROUND
2           Plaintiffs filed their Complaint in the Superior Court for the County of Los
3    Angeles on July 26, 2023. Notice of Removal Ex. A (ECF No. 1 at 22–26). The
4    Complaint does not identify any of the defendants as federal employees or agencies.
5    Instead, the individually named defendants are described as medical professionals
6    “licensed by the State of California to practice their specialty in said state” and Eisner as
7    a medical facility “licensed to provide hospital and medical facilities and services in the
8    County of Los Angeles.” Id. at 23 (Compl. ¶¶ 3 & 4). The Complaint alleges that Oh
9    was in the Defendants’ care and that they failed to timely recognize and treat issues
10   arising from W.H.’s birth, resulting in permanent brain damage. Id. at 24–25 (Compl.
11   ¶¶ 9–13).
12          According to the Notice of Removal, Claassen, Morris, Jacobs, Lurvey, and
13   Garcia are employees of Eisner, a federal grant recipient under FSHCAA. Notice of
14   Removal ¶¶ 1–2 (ECF No. 1 at 2). The Notice of Removal states that Eisner’s counsel
15   forwarded a copy of the Complaint to HHS on August 3, 2023 and sent an overnight
16   copy to the United States Attorney’s Office that same day. Id. ¶ 28 (ECF No. 1 at 10). 1
17   Consistent with § 233(l)(1)’s requirement that the Attorney General enter an appearance
18   within 15 days of notice of the state court action, the U.S. Attorney, acting as the
19   Attorney General’s designee, appeared on August 16, 2023 to advise the state court that
20   whether the Eisner Defendants were deemed employees of the PHS “with respect to the
21   actions or omissions that are the subject of the above captioned action” was under
22   consideration. Id. Ex. B (ECF No. 1 at 27–28). Despite the United States indicating that
23   the certification process under FSHCAA was ongoing, the Eisner Defendants removed
24   this action to federal court on August 25, 2023.
25
26
            1
             The Notice of Removal erroneously states that notice was provided to “the
27   United States Attorney for the Northern District of California.” Notice of Removal ¶ 28
     (ECF No. 1 at 10). The United States acknowledges that the United States Attorney’s
28   Office for the Central District of California received notice on August 4, 2023.
                                                   5
 Case 2:23-cv-07054-GW-AGR Document 21 Filed 09/25/23 Page 13 of 26 Page ID #:128




1    IV.   LEGAL STANDARD
2          Federal courts have long recognized that removal should be “strictly construed”
3    and that a “defendant seeking removal has the burden to establish that removal is proper
4    and any doubt is resolved against removability.” Hawaii ex rel. Louie v. HSBC Bank
5    Nevada, N.A., 761 F.3d 1027, 1034 (9th Cir. 2014). This premise stems from principles
6    of federalism and “[d]ue regard for the rightful independence of state governments.”
7    Shamrock Oil & Gas Corp. v. Sheets, 313 U.S. 100, 109 (1941); see also Abrego Abrego
8    v. The Dow Chem. Co., 443 F.3d 676, 685 (9th Cir. 2006). A defendant “may prefer
9    federal court, but they may not remove their cases to federal court unless federal laws let
10   them.” City of Hoboken v. Chevron Corp., 45 F.4th 699, 705–06 (3d. Cir. 2022).
11   Accordingly, “federal courts must apply a presumption against removal and construe
12   uncertainties against removal to federal court. See Gaus v. Miles, Inc., 980 F.2d 564,
13   566 (9th Cir. 1992) (per curiam) (“Federal jurisdiction must be rejected if there is any
14   doubt as to the right of removal in the first instance.”).
15         This presumption against removal is softened for federal officer removal under 28
16   U.S.C. § 1442(a)(1), which requires a more “generous interpretation” in favor of
17   removal. Durham v. Lockheed Martin Corp., 445 F.3d 1247, 1252 (9th Cir. 2006).
18   Despite this softer standard, federal officer removal remains constrained by the statutory
19   perquisites and courts still “excercis[e] ‘prudence and restraint’” in resolving doubts as
20   to the removability of cases. See City & County. of Honolulu v. Sunoco LP, 39 F.4th
21   1101, 1106 (9th Cir. 2022) (citation omitted).
22   V.    ARGUMENT
23         A.     Remand is required because the Eisner Defendants’ removal under 42
24                U.S.C. § 233(l) is defective.
25         The Eisner Defendants’ attempt to remove the action to federal court under
26   § 233(l) fails because this subsection only allows for removal if the Attorney General
27   failed to appear in the state court action within fifteen days after receiving notice of the
28   filing of the state court action. See 42 U.S.C. § 233(l)(1) & (2). As described above,
                                                   6
 Case 2:23-cv-07054-GW-AGR Document 21 Filed 09/25/23 Page 14 of 26 Page ID #:129




1    § 233(l)(1) directs the Attorney General to appear in state court within 15 days of notice
2    of the action. The related provision, § 233(l)(2), allows a defendant to remove the action
3    to federal court only “[i]f the Attorney General fails to appear in State court within the
4    time period prescribed under paragraph (1).” In other words, the statute does not give
5    defendants a unilateral removal right, but rather only permits them to remove when the
6    Attorney General has failed to timely appear.
7          Here, the Notice of Removal states that Eisner’s counsel notified HHS of the
8    complaint on August 3, 2023 and notified the United States Attorney’s office the
9    following day, via overnight carrier. Notice of Removal ¶ 28 (ECF No. 1 at 10). The
10   U.S. Attorney, acting as the Attorney General’s designee, then appeared in the state court
11   action on August 16, 2023, within fifteen days of notice. Notice of Removal Ex. B
12   (ECF No. 1 at 27–29). Accordingly, the Eisner Defendants’ removal under § 233(l)(2) is
13   facially defective. See, e.g., Allen v. Christenberry, 327 F.3d 1290 (11th Cir. 2003);
14   L.D.Q. I, 2018 WL 1136568, at *1–3 (“Section 233(l)(2) does not provide a basis for
15   removal because the Attorney General’s designee did not ‘fail to appear in State
16   court.’”); Babbitt, 2018 WL 6040472, at *3 (“Under the plain text of Section 233(l)(2)
17   removal was improper because the Attorney General did not “fail to appear” within “15
18   days after being notified” of the state court action.”); K.C., 2018 WL 5906057, at *3–*5
19   (recognizing that the FSHCAA only allows removal (1) when the Attorney General
20   removes the case after certifying FTCA coverage under § 233(c), and (2) “when the
21   Attorney General fails to appear within fifteen days under § 233(l)(2)”).
22         The Eisner Defendants’ Notice of Removal argues that the U.S. Attorney failed to
23   timely appear within 15 days because the August 16, 2023 Notice stated that the Eisner
24   Defendants’ status as deemed employees was “under consideration” and the U.S.
25   Attorney did not provide a final determination at that time. Notice of Removal ¶¶ 29–31
26   (ECF No. 1 at 10–12); see id. Ex. B (ECF No. 1 at 27–29). But this argument is a
27   misrepresentation of the statute.
28         First, the plain text of § 233(l)’s removal provision only permits removal if the
                                                  7
 Case 2:23-cv-07054-GW-AGR Document 21 Filed 09/25/23 Page 15 of 26 Page ID #:130




1    Attorney General “fails to appear in State court within the time period prescribed under
2    paragraph (1).” § 233(l)(2). The statute does not require that the Attorney General
3    appear and provide a final determination as to the defendant’s coverage during that
4    fifteen-day period. Courts have repeatedly confirmed that the Attorney General’s timely
5    appearance is all that is required to foreclose removal under this section. Sherman by &
6    through Sherman v. Sinha, 843 F. App’x 870, 873 (9th Cir. 2021) (“Sinha argues that the
7    Attorney General did not ‘appear’ in state court because the Attorney General did not
8    definitively advise the court of whether Sinha was considered a federal officer.
9    However, she cites no authority in support of her position, and it is contrary to the
10   statutory scheme and unworkable as a practical matter.”); accord Allen, 327 F.3d at 1295
11   (“The Attorney General did appear through the United States Attorney . . . to give notice
12   that no decision had been made but one was forthcoming. The next day after the
13   Attorney General appeared the defendant doctors themselves removed the case to federal
14   court, something the statute does not permit.”); Barnes v. Sea Mar Cmty. Health Ctrs.,
15   2022 WL 1541927, at *3 (W.D. Wash. Apr. 27, 2022) (“The statute does not allow
16   removal when the Attorney General properly appears and informs the court that the
17   United States is still determining whether the defendant is an employee of the Public
18   Health Services.”), R & R adopted, 2022 WL 1540462 (W.D. Wash. May 16, 2022).
19   The Notice of Removal ignores both the statutory text and the consistent weight of
20   authority contrary to its position.
21         Second, to the extent the Notice of Removal is suggesting that it was appropriate
22   to remove this case for the Court to make an initial certification determination, that
23   argument is refuted by the statute. Notice of Removal ¶ 31 (ECF No. 1 at 12). By its
24   own terms, § 233(l)(2) only authorizes removal to a federal forum if the Attorney
25   General failed to appear within fifteen days. Thus, as the cases the Eisner Defendants
26   rely on have recognized, a defendant can remove a case to federal court and seek an
27   initial determination only if the United States has failed to appear within fifteen days of
28   notice. See, e.g., Est. of Booker v. Greater Phila. Health Action, Inc., 10 F. Supp. 3d
                                                  8
 Case 2:23-cv-07054-GW-AGR Document 21 Filed 09/25/23 Page 16 of 26 Page ID #:131




1    656, 663 (E.D. Pa. 2014) (removal permitted “[i]f the Attorney General fails to act
2    within the 15-day period”); Est. of Campbell by Campbell v. S. Jersey Med. Ctr., 732 F.
3    App'x 113, 116 (3d Cir. 2018) (removal permitted after “the Attorney General has failed
4    to appear”). The Eisner Defendants do not point to any authority that permits removal
5    when a clear statutory predicate for it is lacking.
6             For this reason, the Court should dismiss the Eisner Defendants’ invitation to
7    make any threshold certification determination. See Notice of Removal ¶¶ 34–53 (ECF
8    No. 1 at 13–20). Here, the Attorney General has only recently been made aware of the
9    litigation and the government’s certification determination is ongoing. This process is
10   specific to each particular lawsuit and depends upon the cooperation of a defendant
11   seeking coverage. See Health Res. & Servs. Admin., HHS, Federal Tort Claims Act:
12   Health Center Policy Manual 21–22, https://bphc.hrsa.gov/sites/default/files/bphc/
13   technical-assistance/ftcahc-policy-manual.pdf (last updated July 21, 2014) (listing
14   documents the requesting entity must provide for a certification determination). As the
15   Ninth Circuit put it, “[i]f allowed, the premature removal of the case to the district court
16   would bypass the Attorney General’s initial determination of whether a defendant public
17   health worker should be deemed a federal officer. Providing the Attorney General with
18   the opportunity to consider the issue is a prerequisite to federal jurisdiction.” Sherman,
19   843 F. App’x at 873.
20            In short, the Eisner Defendants’ removal under § 233(l)(2) is defective because the
21   Attorney General made an appearance within the fifteen-day period. Accordingly, the
22   Court is without jurisdiction and this case should be remanded to California Superior
23   Court.
24            B.    Remand is required because the Eisner Defendants’ alternative
25                  removal under 28 U.S.C. § 1442(a)(1) is defective.
26            The Eisner Defendants cannot remove this case to federal court under 28 U.S.C.
27   § 1442(a)(1) and, accordingly, remand is required. Section 1442(a)(1) allows any
28   defendant who is an “officer (or any person acting under that officer) of the United
                                                   9
 Case 2:23-cv-07054-GW-AGR Document 21 Filed 09/25/23 Page 17 of 26 Page ID #:132




1    States or of any agency thereof” to remove an action to federal court.
2          As an initial matter, it is black-letter law that “a specific [statutory] provision
3    controls one of more general application,” and courts must “give effect, if possible, to
4    every clause and word of a statute.” Gozlon-Peretz v. United States, 498 U.S. 395, 396
5    (1991); United States v. Menasche, 348 U.S. 528, 538–39 (1955). As this District has
6    recognized, if the “deemed” status of a health center allows for removal under §
7    1442(a)(1), then the specific removal provisions in § 233 would be superfluous. K.C.,
8    2018 WL 5906057, at *6 (“Application of § 1442, instead of § 233, in a case where a
9    defendant is a deemed PHS employee would swallow the § 233 removal provision,
10   rendering it superfluous.”); see also Nye v. Hilo Med. Ctr., No. 09-220, 2010 WL
11   931926, at *3 (D. Haw. Mar. 11, 2010) (“Given that § 233 specifically applied to this
12   action, removal under the more general § 1442 was improper.”).
13         More pointedly, allowing the Eisner Defendants to invoke § 1442 would
14   effectively nullify the statutory scheme imposed by § 233. Under 42 U.S.C. § 233, the
15   only two pathways to removal depend upon the action or inaction of the Attorney
16   General. Either the Attorney General issues the prerequisite certification to authorize
17   removal under § 233(c), or the Attorney General fails to appear in state court within the
18   allotted time under § 233(l)(2). The FSHCAA’s statutory removal provisions are
19   “specific provision[s] applying to a very specific situation” and they control over the
20   more general provision. Cf. Morton v. Mancari, 417 U.S. 535, 550 (1974); see also
21   O'Guinn v. Lovelock Corr. Ctr., 502 F.3d 1056, 1061–62 (9th Cir. 2007) (inmate
22   bringing Americans with Disabilities Act claim had to comply with the stringent
23   exhaustion procedure of the Prison Litigation Reform Act). Allowing the Eisner
24   Defendants to invoke § 1442 is particularly inappropriate where the only colorable
25   federal defense they raise is § 233 immunity, Notice of Removal ¶ 14 (ECF No. 1 at 7),
26   but they’ve refused to wait for the Attorney General to complete the statutory process to
27   determine if that immunity applies. Doe v. Centerville Clinics Inc., No. 2:23-CV-1107-
28   NR, 2023 WL 5984337, at *3 (W.D. Pa. Sept. 14, 2023) (“To permit Centerville to raise
                                                  10
 Case 2:23-cv-07054-GW-AGR Document 21 Filed 09/25/23 Page 18 of 26 Page ID #:133




1    § 233 as a defense for purposes of § 1442, when it didn't abide by the removal
2    procedures of § 233, would sidestep the framework of § 233.”).
3          Accordingly, the Eisner Defendants cannot use § 1442(a)(1) to end-run the
4    specific removal provisions in § 233.
5                 1.     The Eisner Defendants are not federal officers under § 1442.
6          Should the Court reach this issue, the Eisner Defendants argument that they are
7    federal officers under § 1442 by virtue of potentially being “deemed to be an employee
8    of the Public Health Service” is unsupported. See Notice of Removal ¶ 10 (ECF No. 1 at
9    5). The Eisner Defendants are not even federal employees—let alone persons exercising
10   significant authority on behalf of the federal government. See County of San Mateo, 32
11   F.4th at 756 (“When Congress first enacted § 1442(a)(1), the phrase ‘officer of the
12   United States’ was generally understood as a term of art that referred to federal officers
13   who ‘exercis[ed] significant authority.’” (quoting International Primate Prot. League v.
14   Administrators of Tulane Educ. Fund, 500 U.S. 72, 81 (1991))). Instead, Eisner is a
15   federal grant recipient whose employees can be “deemed” to be PHS employees under
16   FSHCAA. As the Supreme Court has recently explained, the word “deemed” is utilized
17   in statutes for the limited purpose of establishing a “useful” “legal fiction.” Sturgeon v.
18   Frost, 139 S.Ct. 1066, 1081 (2019). That “legal fiction,” which is created by § 233(g), is
19   expressly limited by its own terms to be “[f]or purposes of this section,” not for any
20   other section of federal law. See § 233(g)(1)(A), (B), (D), (E), (F); see also K.C., 2018
21   WL 5906057, at *5 (“A state court defendant cannot use its deemed federal status, which
22   is limited to coverage under the FTCA for medical malpractice, for all purposes.”).
23                2.     The Eisner Defendants were not acting under the direction of a
24                       federal officer under § 1442.
25         The Eisner Defendants also err in claiming that they could remove this case as
26   “person[s] acting under” an officer of the United States, 28 U.S.C. § 1442(a)(1). The
27   “acting under” language “extend[s]” removal rights “to employees, as well as officers,”
28   of the federal government. County of San Mateo, 32 F.4th at 756. A “private person”
                                                  11
 Case 2:23-cv-07054-GW-AGR Document 21 Filed 09/25/23 Page 19 of 26 Page ID #:134




1    who is not herself a federal officer or employee can also qualify as someone “acting
2    under” a federal officer if the individual “has certain types of close relationships with the
3    federal government.” Id. “The paradigm” of an “acting under” relationship “is a private
4    person acting under the direction of a federal law enforcement officer.” Fidelitad, Inc. v.
5    Insitu, Inc., 904 F.3d 1095, 1099 (9th Cir. 2018).
6          The Ninth Circuit has “identified four factors” that bear on “whether a person was
7    ‘acting under’ a federal officer”: “(1) working under an officer in a manner akin to an
8    agency relationship; (2) being subject to the officer’s close direction, such as acting
9    under the guidance, or control of the officer or having an unusually close relationship
10   involving detailed regulation, monitoring, or supervision; (3) helping fulfill basic
11   governmental tasks; and (4) conducting activities so closely related to the government’s
12   implementation of its federal duties that the person faces a significant risk of state-court
13   prejudice.” City & County of Honolulu v. Sunoco LP, 39 F.4th 1101, 1107 (9th Cir.
14   2022) (quotation marks and alterations omitted). Each of these factors cuts against the
15   Eisner Defendants’ claim to have been acting under any federal officer.
16         As to the first two factors, neither Eisner nor its employees have agency-like
17   relationships with the government, nor do they act under federal government “subjection,
18   guidance, or control,” Watson v. Philip Morris Cos., 551 U.S. 142, 151, 153 (2007)
19   (quotation marks omitted). Eisner may receive grant money from HHS, but it remains a
20   private entity. United States v. Orleans, 425 U.S. 807, 816 & n.6 (1976) (noting that
21   “plainly the granting of funds can be conditional without changing the basic relationship
22   between federal and local governments and their components,” and “[a]lthough such
23   regulations are aimed at assuring compliance with goals, the regulations do not convert
24   the acts of entrepreneurs or of state governmental bodies into federal governmental
25   acts”); Sherman, 2019 WL 2242071, at *2 (“A [defendant’s] status as an employee of a
26   federal grant recipient is insufficient to establish federal officer or agency jurisdiction.”).
27   While Eisner must comply with laws and regulations to remain eligible for grant funding
28   as well as to obtain malpractice coverage under FSHCAA, these requirements do not
                                                   12
 Case 2:23-cv-07054-GW-AGR Document 21 Filed 09/25/23 Page 20 of 26 Page ID #:135




1    entitle Eisner’s employees to remove cases to federal court. See Watson, 551 U.S. at 153
2    (holding that a private firm does not act under federal officers by complying with federal
3    laws, “even if the regulation is highly detailed and even if the private firm’s activities are
4    highly supervised and monitored”).
5          Indeed, the statutory provision the Eisner Defendants rely upon to state that they
6    are subject to federal control gives the lie to their own argument. See Notice of Removal
7    ¶ 12 (citing to 42 U.S.C. § 254b to argue that Eisner, as a federally funded health center,
8    is acting under federal control). Those regulations are grant conditions that apply to all
9    federally funded health centers, regardless of whether they have taken the additional,
10   optional, step of applying for deemed status under § 233(g). Thus, the Eisner
11   Defendants’ argument would render deeming and removal under § 233 superfluous—all
12   federally funded health centers would already be entitled to removal as persons “acting
13   under” a federal officer, regardless of whether they were actually “deemed” employees
14   of the PHS. Accordingly, these grant conditions do not tip the first two factors in the
15   Eisner Defendants’ favor.
16         As to the third factor, Eisner and its employees do not help fulfill basic
17   governmental tasks. Privately operated health centers such as Eisner receive federal
18   grants to assist those centers with providing certain services to populations that are
19   “medically underserved.” 42 U.S.C. § 254b(a)(1). While those services further the
20   availability of an important benefit to the public, they are not services that, “in the
21   absence” of federal grant funding, “the Government itself would have had to” provide.
22   Watson, 551 U.S. at 154; cf. N.G. v. Downey Reg’l Med. Ctr., 140 F. Supp. 3d 1036,
23   1040 (C.D. Cal. 2015) (“[T]he government is not outsourcing a government task to [the
24   medical center] and overseeing [the medical center’s] conduct. Instead, [the medical
25   center] merely collects Medicare, Medicaid, and/or Medi-Cal payments from the
26   government for providing medical treatment to eligible members of the public.”). The
27   Eisner Defendants have pointed to no authority establishing any general obligation for
28   the federal government to itself establish health centers that serve the medically
                                                   13
 Case 2:23-cv-07054-GW-AGR Document 21 Filed 09/25/23 Page 21 of 26 Page ID #:136




1    underserved community.
2           Instead, it is the government’s grant funding that supports health centers’ pre-
3    existing efforts to provide services that benefit the public. See Elayne J. Heisler, Cong.
4    Rsch. Serv., R43937, Federal Health Centers: An Overview 2 (2017) (explaining that the
5    program “awards grants to support outpatient primary care facilities that provide care
6    primarily to low-income individuals” (emphasis added)); id. at 8 (explaining further that
7    these entities “are eligible to apply for Section 330 grants to operate health centers”; that
8    federal grants “are awarded competitively based on an assessment of the need for
9    services in a given area and the merit of the application submitted”; and that grant
10   recipients “are required to use grant funds to supplement and not supplant funding that
11   has been available prior to the grant” (emphasis added)). Indeed, Eisner existed and
12   operated for over 80 years before it supplemented its funding with a health center grant
13   from the federal government.2 The Eisner Defendants cannot plausibly argue that they
14   were carrying out duties for the federal government long before Eisner ever applied for
15   its grant.
16          In other words, the government “assists” or “helps carry out” the work of health
17   centers—not the other way around. That is why it is called the “Federally Supported
18   Health Centers Assistance Act.” Pub. L. No. 102-501, 106 Stat. 3268 (1992) (emphasis
19   added); see also, e.g., Buljic v. Tyson Foods, Inc., 22 F.4th 730, 740 n.4 (8th Cir. 2021)
20   (rejecting a private company’s argument for removal under 28 U.S.C. § 1442(a)(1)
21   where “the federal government provided it assistance, rather than the other way
22   around”). Thus, the Eisner Defendants were not acting under an officer of the United
23   States; the United States was giving grant money to Eisner in a specific context.
24          As to the fourth factor, the Eisner Defendants do not face “a significant risk of
25   state court prejudice.” County of San Mateo, 32 F.4th at 757 (quoting Watson, 551 U.S.
26
            2
              Our History, Eisner Health, https://www.eisnerhealth.org/about-us/our-history/
27   (last visited Sept. 25, 2023) (Eisner Health founded in 1920 under a different name;
     changed name to Eisner in 2002 after a grant from private donors; awarded first federal
28   grant under FSCHAA in 2004).
                                                  14
 Case 2:23-cv-07054-GW-AGR Document 21 Filed 09/25/23 Page 22 of 26 Page ID #:137




1    at 152). Congress enacted the federal officer removal statute to address situations in
2    which “state hostility” may have been “specifically directed against federal officers’
3    efforts to carry out their federally mandated duties.” Mesa v. California, 489 U.S. 121,
4    139 (1989). In cases filed against health center employees, unless the United States is
5    substituted as a party, the case remains a medical malpractice tort suit under state law
6    that is well within the competence of state courts. The concerns animating federal
7    officer removal are not implicated.
8          The Eisner Defendants’ reliance on Agyin v. Razmzan, 986 F.3d 168 (2d Cir.
9    2021) is misplaced. See Notice of Removal ¶¶ 11, 13 (ECF No. 1 at 5, 6). Agyin
10   concluded that heath centers were carrying out duties the federal government is required
11   to perform, analogous to federal contractors or employees, but did so without any real
12   analysis of FSHCAA or how a federal grant that helps a private entity perform work
13   might differ from a federal contract that outsources a core government function to a
14   private entity. See 986 F.3d at 175–77. As described above, FSHCAA is best
15   understood as—and indeed, is plainly intended to be—a grant program that assists health
16   centers in carrying out their work. Agyin did not accurately consider this relationship.
17         In any event, Agyin is non-binding authority and what persuasive value it might
18   possess is undermined by both its insufficient analysis of FSHCAA and the fact that it is
19   contrary to the uniform law of this District, which has recognized that § 1442 is not
20   applicable in these cases. L.D.Q. II, 2018 WL 6040474, at *2 (“[T]here is no statutory
21   basis for Defendants’ contention that they are federal officers. Defendants are not
22   employees of a federal agency, and their sole relationship to the federal government is
23   that of a grant recipient.”); K.C., 2018 WL 5906057, at *6 (“Here, Khalifa does not
24   sufficiently demonstrate that he ‘acted under’ a federal agency or officer. On the
25   contrary, the United States Attorney determined that Khalifa did not act within the scope
26   of his deemed PHS employment. Therefore, the Court cannot find that Khalifa qualifies
27   for § 1442 removal.”); Sherman, 2019 WL 2242071, at *2 (holding same).
28         Because the Eisner Defendants are not federal officers, nor were they acting under
                                                 15
 Case 2:23-cv-07054-GW-AGR Document 21 Filed 09/25/23 Page 23 of 26 Page ID #:138




1    federal officers, this action should be remanded back to state court.
2          C.     The Eisner Defendants cannot invoke 28 U.S.C. § 2679(d) as a basis for
3                 removal.
4          To the extent the Eisner Defendants invoke the Westfall Act as a basis for
5    removal, it is improper. The United States notes that, other than a single statutory
6    citation in the first paragraph, the Eisner Defendants do not advance any reasoning
7    supporting their invocation of 28 U.S.C. § 2679(d). ECF No. 1 at 2. The invocation is
8    frivolous because the Westfall Act only allows for removal to federal court in two ways,
9    both of which are executed by the Attorney General. 28 U.S.C. § 2679(d)(2), (3). Thus,
10   even if the Eisner Defendants were federal employees, the Westfall act would be an
11   improper basis for them to remove this action.
12         Regardless, the Westfall Act is inapplicable to such “deemed” PHS employees.
13   See Thomas v. Phoebe Putney Health Sys., Inc., 972 F.3d 1195, 1203 (11th Cir. 2020)
14   (acknowledging inapplicability of Westfall Act to “deemed” PHS employees); O’Brien
15   v. United States, 56 F.4th 139, 146 (1st Cir. 2022) (noting that differences between
16   Westfall Act and § 233 “are real, not simply technical”); Hui v. Castaneda, 559 U.S.
17   799, 809 (2010) (clarifying that § 233 incorporates only those provisions of the FTCA
18   establishing the “remedy against the United States,” not the Westfall Act itself).
19         As noted above, § 233(g) expressly limits the legal effect of being “deemed” a
20   PHS employee to that section. Deeming is not a blanket grant of federal employee status
21   for all legal purposes. Consequently, the Eisner Defendants are not eligible to invoke the
22   Westfall Act as a basis for removing this action.
23   VI.   CONCLUSION
24         For the foregoing reasons, this action should be remanded back to the Superior
25   Court of California.
26
27
28
                                                 16
 Case 2:23-cv-07054-GW-AGR Document 21 Filed 09/25/23 Page 24 of 26 Page ID #:139




1    Dated: September 25, 2023        Respectfully submitted,
2                                     E. MARTIN ESTRADA
                                      United States Attorney
3                                     DAVID M. HARRIS
                                      Assistant United States Attorney
4                                     Chief, Civil Division
                                      JOANNE S. OSINOFF
5                                     Assistant United States Attorney
                                      Chief, Complex and Defensive Litigation Section
6
7
                                         /s/Ryan C. Chapman
8                                     RYAN C. CHAPMAN
                                      Assistant United States Attorney
9
                                      Attorneys for United States of America
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                          17
 Case 2:23-cv-07054-GW-AGR Document 21 Filed 09/25/23 Page 25 of 26 Page ID #:140




1                                  L.R. 11-6.1 Certification
2
           The undersigned counsel of record for the United States certifies that this brief
3    contains 5,727 words, which complies with the word limit of L.R. 11-6.1.
4
      Dated: September 25, 2023                  /s/ Ryan C. Chapman
5                                             RYAN C. CHAPMAN
                                              Assistant United States Attorney
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                               18
 Case 2:23-cv-07054-GW-AGR Document 21 Filed 09/25/23 Page 26 of 26 Page ID #:141




 1                          PROOF OF SERVICE BY MAILING
 2         I am over the age of 18 and not a party to the within action. I am employed by
 3 the Office of United States Attorney, Central District of California. My business
 4 address is 300 North Los Angeles Street, Suite 7516, Los Angeles, California 90012.
 5         On September 25, 2023, I served THE UNITED STATES OF AMERICA’S
 6 NOTICE OF MOTION AND MOTION TO REMAND; MEMORANDUM OF
 7 POINTS AND AUTHORITIES; [PROPOSED] ORDER GRANTING THE
 8 UNITED STATES OF AMERICA’S MOTION TO REMAND on each person or
 9 entity named below by enclosing a copy in an envelope addressed as shown below and
10 placing the envelope for collection and mailing on the date and at the place shown
11 below following our ordinary office practices. I am readily familiar with the practice
12 of this office for collection and processing correspondence for mailing. On the same
13 day that correspondence is placed for collection and mailing, it is deposited in the
14 ordinary course of business with the United States Postal Service in a sealed envelope
15 with postage fully prepaid.
16         Date of mailing: September 25, 2023. Place of mailing: Los Angeles,
17 California.
18               Person(s) and/or Entity(ies) to Whom mailed:
19   Vanessa N. Raven
     Ikuta Hemesath LLP
20   1327 North Broadway
     Santa Ana, CA 92706
21
22         I declare under penalty of perjury under the laws of the United States of America
23 that the foregoing is true and correct.
24         I declare that I am employed in the office of a member of the bar of this court at
25 whose direction the service was made.
26         Executed on: September 25, 2023 at Los Angeles, California.
27
                                                     CAROL M. YBARRA
28
                                                 1
